      Case 2:03-cr-00082-EJG Document 107 Filed 11/30/05 Page 1 of 2


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 4
     Attorney for Defendant
 5   ANDRES GARCIA LUGO
 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                     )
10                                                 )
                            Plaintiff,             )       Cr. No. S-03-0082 EJG
11                                                 )
                    v.                             )       STIPULATION AND
12                                                 )       ORDER
                                                   )       RE: STATUS CONFERENCE
13   ANDRES GARCIA LUGO, et al.,                   )
                                                   )
14                          Defendants.            )
                                                   )
15
            The United States of America, through Assistant U.S. Attorney Mary L. Grad, and defendant
16
     Andres Garcia Lugo, through his counsel Scott L. Tedmon, hereby stipulate and agree as follows:
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            1. The indictment charges defendant Andres Garcia Lugo with one count of 21 U.S.C.§§
18
     846, 841(a)(1) - Conspiracy to Distribute and Possess with Intent to Distribute Methamphetamine
19
     and Cocaine. Additionally, the indictment charges defendant Andres Garcia Lugo with two counts
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     of 21 U.S.C. § 843(b) - Use of a Communication Facility.
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            2. A status conference date is currently set for December 2, 2005, at 10:00 a.m before United
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     States District Judge Edward J. Garcia. No trial date is set at this time.
23
            3. The government has recently provided defense counsel with 694 pages of discovery along
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     with CD’s of wire interception recordings. After reviewing some of the discovery provided by the
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     government and discussing the matter with the defendant, defense counsel needs additional time to
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     complete his review of the discovery, conduct necessary pre-trial investigation as well as determine
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     what pre-trial motions will be filed, if any. Further, it is anticipated the government will be
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      Case 2:03-cr-00082-EJG Document 107 Filed 11/30/05 Page 2 of 2


 1   providing some additional discovery to the defense. Finally, counsel for the government and counsel
 2   for defendant Andres Garcia Lugo have met and conferred regarding a possible resolution in the
 3   case. Additional time is necessary for the parties to confer in an effort to resolve the case by way
 4   of a plea agreement.
 5          4. Based on the foregoing, counsel for the government and counsel for defendant Andres
 6   Garcia Lugo request that the present status conference date be continued and a new status conference
 7   date be set for January 13, 2006 at 10:00 a.m. This date has been approved by Colleen Lydon.
 8          5. Counsel for the government and counsel for defendant Andres Garcia Lugo stipulate that
 9   time be excluded through January 13, 2006, the date of the status conference, under the Speedy Trial
10   Act for need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T4.
11          Finally, Scott L. Tedmon has been authorized by counsel for the government to sign this
12   stipulation on their behalf.
13          IT IS SO STIPULATED.
14   DATED: November 29, 2005                      McGREGOR W. SCOTT
                                                   United States Attorney
15
                                                      /s/ Mary L. Grad
16                                                 MARY L. GRAD
                                                   Assistant U.S. Attorney
17
     DATED: November 29, 2005                      LAW OFFICES OF SCOTT L. TEDMON
18
                                                      /s/ Scott L. Tedmon
19                                                 SCOTT L. TEDMON
                                                   Attorney for Defendant Andres Garcia Lugo
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21                                                ORDER
22          GOOD CAUSE APPEARING and based upon the above stipulation, it is hereby ordered that
23   a status conference is set for January 13, 2006 at 10:00 a.m., before the Honorable Edward J. Garcia.
24   Based upon the above stipulation, it is further ordered that time is excluded under the Speedy Trial
25   Act for need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T4.
26          IT IS SO ORDERED.
27   Dated: November 29         , 2005             /s/ Edward J. Garcia
                                                   EDWARD J. GARCIA
28                                                 United States District Court

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